                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                              3:96CR66-17-MU


UNITED STATES OF AMERICA,       )
                                )
           Plaintiff,           )
                                )
vs.                             )                       ORDER
                                )
MONICA MAYERS,                  )
                                )
           Defendant.           )
________________________________)


       THIS MATTER comes before the Court on Defendant’s Motion Requesting the

Court to Order the Government to Show Cause Why a Motion for Reduction of Sentence

Has Not Been Filed, filed April 15, 2003.

       In her Motion, Petitioner asks the Court to order the Government to show cause

why a Rule 35(b) motion has not been filed in her case. For the reasons set forth below,

the Court declines to take such an action.

       A district court may inquire into the Government's motives not to file a Rule 35(b)

motion only in limited circumstances. See United States v. Wallace, 22 F.3d 84, 87 (4th

Cir.1994). A court may review whether the prosecutor's decision1 was based upon an

unconstitutional motive. Id.    In the instant case, Defendant does not allege that the

Government’s decision not to file a Rule 35 motion was predicated upon an


       1
        As is typical, the plea agreement in the instant case explicitly sets forth that the
Government, in its sole discretion, retained the right to determine whether any
assistance had been substantial. (Pl. Agr. ¶¶ a, f).

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      Case 3:96-cr-00066-MOC                 Document 588            Filed 04/10/06            Page 1 of
unconstitutional motive. Consequently, this Court is without authority to inquire into the

Government’s motives.

       Furthermore, it appears that Defendant failed two urine tests while out on bond and

that she may have bought or sold drugs while out on bond. (Mot. to Cont. Sent. Hearing

¶¶ 7, 10). As a result, the Government explicitly declined to file a Rule 5K1 motion at her

sentencing hearing. (Sent Hearing Trans. pp. 2, 4).

      IT IS, THEREFORE, ORDERED that Defendant’s Motion Requesting the Court to

Order the Government to Show Cause Why a Motion for Reduction of Sentence Has Not

Been Filed is DENIED.



                                            Signed: April 10, 2006




                                            2


      Case 3:96-cr-00066-MOC        Document 588      Filed 04/10/06    Page 2 of 2
